Case 21-13329-amc         Doc 78    Filed 03/14/24 Entered 03/14/24 11:35:40            Desc Main
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                           UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF PENNSYLVANIA

In Re:                                                    Chapter 13
         BRIAN L. HALL
                                                          Bankruptcy No. 21-13329-MDC

                               Debtor

         TRUSTEE’S MOTION TO DISMISS PURSUANT TO 11 U.S.C. SECTION 1307

To the Honorable Judges of the United States Bankruptcy Court for the Eastern District of
Pennsylvania:

1.     Your Movant is Kenneth E. West, Esq. the duly qualified and acting Chapter 13 Trustee in
the above-captioned case.

2.       The within case was commenced by the filing of a Chapter 13 petition on 12/17/2021.

3.       This Motion to Dismiss has been filed for the following reason(s):

         •   There has been a material default by debtor(s) with respect to a term of a confirmed
             plan pursuant to 11 U.S.C. Section 1307 (c )(6).

        WHEREFORE, Kenneth E. West, Esq., Standing Chapter 13 Trustee, requests that the
Court, after a hearing, enter an Order dismissing this case.

Date: 03/14/2024                                  Respectfully submitted,

                                                  /s/ Kenneth E. West, Esq.
                                                  Kenneth E. West, Esq.
                                                  Standing Chapter 13 Trusteee
                                                  P.O. Box 40837
                                                  Philadelphia, PA 19107
                                                  Telephone: (215) 627-1377
